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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                                *
                                                        *
                                                        *
                  v.                                    *               Criminal No. L-10-0336
                                                        *
DIONE FAUNTLEROY, JR., et al.                           *
                                                        *
                                                     *******

                                               MEMORANDUM


         This is a drug conspiracy case. On June 16, 2010, a federal grand jury returned a twelve-

count indictment that charged 22 defendants, including Dione Fauntleroy, Jr., with conspiring to

distribute controlled substances. Fauntleory, Jr., has filed several motions, which many of his

co-Defendants have joined.1 The motions have been fully briefed, and on July 7, 2011 the Court

held a full-day motions hearing. For the reasons stated herein, the Court will, by separate Order

of even date DENY the following Motions:

             •    Amended Motion to Suppress Evidence Obtained by Electronic Surveillance and

                  Interception by Wire and Fruits of Wiretapping by Dione Fauntleroy, Jr. Docket

                  No. 462.

             •    Motion to Sever Defendant, or in the alternative, Motion to Dismiss Count One of

                  the Superseding Indictment as Duplicitous by Dione Fauntleroy, Jr. Docket No.

                  464.

             •    Motion for Bill of Particulars by Dione Fauntleroy, Jr. Docket No. 323.



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         To the extent that other Defendants have joined the motions addressed herein or filed substantially similar
motions, the Court’s analysis will apply equally. A separate order will dispose of these and other miscellaneous
motions.
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                •   Amended Motion to Suppress Tangible Evidence and Derivative Evidence by

                    Dione Fauntleroy, Jr. Docket No. 463.

                •   Motion to Suppress Evidence Seized by Taii Speaks. Docket No. 468.

         The motions will be addressed seriatim.

    I.      Motion to Suppress Wiretap Evidence

            On March 25, 2010, Judge Timothy Doory of the Baltimore City Circuit Court approved

an application submitted by the Baltimore City Police and the DEA for a wiretap on telephone

numbers identified as the A-line and the B-line. The A-line was believed to be used by

Defendant Roger Ford. The B-line was believed to be used by Defendant Travis Stanfield. Later

in the investigation, subsequent wiretap orders were obtained for the C-line (believed to be used

by Fauntleroy, Jr.), the D-line (believed to be used by Robert Campbell), the E-line (also

believed to be used by Robert Campbell), the F-line (believed to be used by Damian Jackson),

and the G-line (believed to be used by Fauntleroy, Jr.).

            Fauntleroy, Jr., has filed an Amended Motion to Suppress Evidence Obtained by

Electronic Surveillance and Interception by Wire and Fruits of Wiretapping (hereinafter

Fauntleroy, Jr., Am. Mot. to Suppress Wiretap Evid.). Docket No. 462. All subsequent wiretap

applications incorporated the affidavit used to obtain the A-line and B-line wiretaps, and also

relied heavily on information gained from the A- and B-lines. It is, therefore, the taps on the A-

line and the B-line that Fauntleroy, Jr., principally challenges.2




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         Though there is no allegation that either the A-line or the B-line belonged to Fauntleroy, Jr., 18 U.S.C.
§ 2518(10)(a) and Md. Cts. & Jud. Proc. § 10‐408(i)(1) permit any “aggrieved person” to move to suppress evidence
derived from electronic surveillance. An “aggrieved person” is defined as “a person who was a party to any
interested wire, oral or electronic communications or a person against whom the interception was directed.” 18
U.S.C. § 2510(11); Md. Cts. & Jud. Proc. § 10‐401(10). Because the Government claims that it intercepted
Fauntleroy, Jr. on the A- and B-lines, as well as all other lines, he has standing to challenge the admissibility of any
evidence thus obtained.

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       Fauntleroy, Jr., advances several arguments in support of his Motion. First, he urges that

the affidavit was misleading and lacking in probable cause to issue the wiretap orders. Second,

he argues that the government failed to exhaust normal investigative techniques before seeking

to obtain wiretaps. Finally, he argues that police did not reasonably minimize the duration of

communications intercepted, as required by the wiretap Orders. None of these positions is

availing.

       A. Probable Cause

       As to probable cause, Fauntleroy, Jr., claims that the confidential sources and informants

utilized by the police were unreliable, and that recorded calls and controlled buys performed by

these sources, as well as physical surveillance conducted by the police, are not necessarily

probative of an overarching drug conspiracy. He further argues that the affidavit and the sources

relied upon therein mention him only minimally.

       Md. Code Ann., Cts. & Jud. Proc. § 10-408(c), which governs the issuance of wiretaps,

requires that the issuing court find:

               probable cause for belief that an individual is committing, has
               committed or is about to commit a particular offense enumerated in
               §10-406 of this subtitle; . . . probable cause for belief that
               particular communications concerning that offense will be
               obtained through the interception of communications over the
               targeted communication device; [and] probable cause for belief
               that the facilities from which, or the place where, the wire, oral or
               electronic communications are to be intercepted are being used, or
               are about to be used, in connection with the commission of such
               offense . . . .

The standard of review governing affidavits in support of wiretap orders is identical to the

standard governing the review of search warrants, because a wiretap order is a specialized sort of

search warrant. United States v. Talbert, 706 F.2d 464, 467 (4th Cir. 1983). A reviewing court

is not to substitute its judgment as to probable cause, but need only determine whether there was

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a substantial basis for the issuing court’s determination of probable cause. Illinois v. Gates, 462

U.S. 213, 238–39 (1983).

       It is clear from the Court’s review that the affidavit presented to Judge Doory, which runs

to 82 pages, contains more than ample probable cause. Fauntleroy, Jr., Am. Mot. to Suppress

Wiretap Evid. Ex. 1, Aff. in Supp. of Appl. for Order Authorizing Interception of Wire

Communications (hereinafter “A/B-line Aff.’), Docket No. 462-2. The fact that not all of the

evidence is directly relevant to Fauntleroy, Jr., himself (or to any other individual Defendant) is

immaterial, because there was more than enough evidence that drug crimes were being

committed, that evidence of those crimes was likely to be obtained through the wiretap, and that

the A- and B-lines were being used to facilitate the offenses. The Court notes specifically that

police, through confidential informants, placed calls to Defendants Ford and Stanfield over the

the A- and B-lines on several occasions to arrange for controlled drug buys, and then observed as

the transactions took place. See A/B-line Aff. at 28–41. It is difficult to imagine more direct and

reliable evidence that these lines were being used in the commission of drug crimes.

       As mentioned above, the affidavit submitted with the application for the A- and B-line

wiretaps, in conjunction with information gained from intercepted calls over the A- and B-lines,

provided the probable cause for subsequent wiretaps. Fauntleroy, Jr., the alleged principal user

of the C-line, was a party to numerous phone calls to and from the A-line, in which he was

recorded discussing drug transactions with Ford. See Fauntleroy, Jr., Am. Mot. to Suppress

Wiretap Evid. Ex. 4, Aff. in Supp. of Appl. for Order Authorizing Interception of Wire

Communications 15–31 (hereinafter “C-line Aff.), Docket No. 462-5. The two talked about,

inter alia, types and quantities of drugs, potential sources of supply, and the manufacture of crack

from powder cocaine. Id. The contents of these calls, combined with the affiant agents’



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interpretations of the often coded language used by Ford and Fauntleroy, Jr., were more than

enough to support Judge Doory’s determination that probable cause existed sufficient to warrant

a wiretap on the C-line. By virtue of the same analysis, the wiretaps on the D-, E-, F-, and G-

lines were also valid.

       B. Exhaustion

       Fauntleroy, Jr., next argues that the wiretaps are invalid because law enforcement failed

to exhaust traditional investigative methods. Under 18 U.S.C. § 2518(1)(c), a wiretap

application must contain “a full and complete statement as to whether or not other investigative

procedures have been tried and failed or why they reasonably appear to be unlikely to succeed if

tried or to be too dangerous.” Maryland’s state-law exhaustion requirements, which are set forth

in Md. Code Ann., Cts. & Jud. Proc. § 10-408, are identical. United States v. Bullock, No. 95-

5983, 2000 WL 84449, at * 4 (4th Cir. 2000). “[T]he burden that these provisions impose upon

the government to show the inadequacy of normal investigative techniques is not great, and the

adequacy of such a showing is ‘to be tested in a practical and commonsense fashion’ . . . that

does not unduly hamper the investigative powers of law enforcement agents.” United States v.

Smith, 31 F.3d 1294, 1297 (4th Cir. 1994) (quoting United States v. Clerkley, 556 F.2d 709, 714

(4th Cir. 1977)). When assessing the need for a wiretap, courts may properly consider the

knowledge, training, and experience of the affiant on the subject of whether a particular

investigative technique is likely to succeed or fail. See Smith, 31 F.3d at 1299; Clerkley, 556

F.2d at 715.

       The A/B-line affidavit discusses at length other investigative techniques that police either

utilized or considered using. Specifically, it analyzes the past and probable future results of

using confidential sources and informants, undercover officers, co-conspirator cooperation,



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search warrants, physical surveillance, tracking devices, CCTV cameras, grand jury

investigations and witness interviews, pen registers, and review of criminal histories. A/B-line

Aff. 68–80. It is clear from the affidavit that none of these techniques, alone or in concert, would

have led to the unraveling of the conspiracy. This is demonstrated most aptly by Fauntleroy,

Jr.’s own argument that the wiretap affidavit contains limited information regarding him

specifically, though he was one of the alleged heads of the organization. One of the very

purposes of a wiretap is to allow law enforcement to ascertain the involvement of members of

the organization whose role has not been established by traditional investigative techniques.

Likewise, Fauntleroy, Jr., cites evidence gained through the execution of search warrants on the

residences of several members of the alleged conspiracy as proof that police could have obtained

the information they needed though traditional methods. In pressing this argument, however,

Fauntleroy, Jr., ignores the point that many of the addresses to be searched, as well as much of

the probable cause needed to obtain the search warrants themselves, came from the very wiretaps

he claims to have been unnecessary.

       Higher-ups in drug organizations often take care to obscure their tracks. They use others

to transport, process, and sell the drugs. Cars, phones, and stash houses are not registered in their

names. Once the police have used traditional tools (e.g., surveillance) to investigate the visible

parts of a drug organization, they must use wiretaps to reveal the parts that are hidden from view.

Like any business organization, a drug ring must rely on telephones to manage the ceaseless

logistical details. When, as in this case, probable cause has been established and the flow of

information from traditional investigative techniques begins to run dry, investigators are entitled

to a wiretap. While a wiretap is not to be used as a first resort, it is, for these reasons, becoming




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a routine and necessary tool in modern law enforcement operations investigating complex and

opaque organizations.

       C. Minimization

       Finally, Fauntleroy, Jr., asserts that the officers monitoring telephone calls in this case

failed to minimize their interception of non-pertinent information as required by the wiretap

orders. Title 18 U.S.C. § 2518(5) requires wiretap orders to include a directive that the order be

executed “in such a way as to minimize the interception of communications not otherwise

subject to interception.” The minimization requirement is satisfied if the reviewing court finds

that, in light of all of the facts and circumstances, “the agents have shown a high regard for the

right of privacy and have done all they reasonably could to avoid unnecessary intrusion.” United

States v. Tortello, 480 F.2d 764, 784 (2d Cir. 1973), cert denied, 414 U.S. 866 (1973).

       The wiretap orders issued by Judge Doory contained a directive of the type required by

18 U.S.C. § 2518(5), and enumerated with specificity the subject matter that was fair game for

interception. See Gov’t’s Opp. Ex. 2, Ex Parte Order Authorizing Interception of A-line 8–9,

Docket No. 501-1. The instructions issued to all monitoring agents repeated the standard

contained in the wiretap orders, and instructed the agents that all intercepted calls could be

monitored for an initial period of two minutes “for the purpose of identifying the parties to the

conversation and determining whether said conversation is criminal in nature or constitutes

evidence of the offenses under investigation.” Fauntleroy, Jr., Am. Mot. to Suppress Wiretap

Evid. Ex. 5, Mem. re: Minimization of Interceptions of Wire and Electronic Communications 3,

Docket No. 501-1. If, after the initial two-minute period, the monitoring agent designated the

conversation as non-pertinent to the investigation, interception would have to be terminated. The

instructions further authorized spot monitoring or spot checking, meaning that the monitoring



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agent would be permitted to reactivate the interception of a call initially designated non-pertinent

“every thirty (30) to sixty (60) seconds or so to determine if the parties or the nature of the

conversation have changed to those covered in the order. LISTEN JUST LONG ENOUGH TO

GET THE GIST OF THE CONVERSATION.” Id. at 4 (emphasis original). The agent was

instructed to use his or her judgment as to when and for how long to spot check, based on several

factors. These factors include the “parties to the conversation, precise relationship of the parties,

the length of the relationship, the number of contacts between the parties, present status of the

investigation, [and the] past conduct of the parties.” Id. at 4–5.

       Fauntleroy, Jr., first argues that “[t]wo minutes on its face is unreasonable when privacy

rights are at issue.” Fauntleroy, Jr., Am. Mot. to Suppress Wiretap Evid. 33, Docket No. 462.

The Court disagrees. Taking into consideration the complexity of the alleged conspiracy, the

number of individuals involved, and the coded language that has become a fixture of

communication in the world of illegal drugs, two minutes is a reasonable time in which to make

an initial determination as to pertinence. See United States v. Quintana, 508 F.2d 867, 874 (7th

Cir. 1975) (“[l]arge and sophisticated narcotics conspiracies may justify considerably more

interception than would a single criminal episode. This is especially so where, as here, the

judicially approved purpose of the wiretap is not so much to incriminate the known person

whose phone is tapped as to learn the identity of far-flung conspirators and to delineate the

contours of the conspiracy.”).

       Gone are the days when drug dealers discussed business by phone in a straightforward

manner. Today’s recorded conversations are replete with code words and code phrases intended

to veil the speaker’s meaning. For a reviewing court, the import of a call often becomes evident

only by deconstructing the transcript with the assistance of expert testimony. In fact, the very



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abstruseness of the conversation raises legitimate suspicion. If the target of a wiretap is calling

the gas and electric company about a bill, minimization is not a difficult task. When the target is

talking to another suspect, however, and using language susceptible of multiple meanings, the

monitoring agents are justified in listening longer and more closely.

        Fauntleroy, Jr., then turns to statistical analysis of the call logs for the A-, B-, and C-lines

in an attempt to show that the monitoring agents intercepted more of the conversations than

necessary or permissible. See Fauntleroy, Jr. Corr. Am. Mot. to Suppress Wiretap Evid., Docket

No. 495.3 For example, as to the A-line, this analysis purports to show that only 35% of the total

duration of non-pertinent calls was minimized, and that 3,545 calls not designated either

pertinent or non-pertinent were not minimized at all. The latter point ignores, most notably, the

fact that the vast majority of undesignated calls lasted in the neighborhood of 40 seconds, and so

would never have been minimized whether pertinent or not. As to the total duration, the

statistics for the A-line reveal that the average non-pertinent call lasted 8:02, of which 2:51 was

minimized. Subtracting the initial 2-minute period discussed above, this leaves an average of

3:11 for spot monitoring.

        While this may seem somewhat high, dealing in averages for thousands of calls that run

the full range between hang-ups and lengthy conversations presents obvious difficulties, and the

Court must exercise great care before substituting its own ex post judgment for that of the

monitoring agents. “It is all well and good to say, after the fact, that certain conversations were

irrelevant and should have been terminated. However, monitoring agents are not gifted with

prescience and cannot be expected to know in advance what direction a conversation will take.”

United States v. LaGorga, 336 F. Supp. 190, 196 (W.D. Pa. 1971). What is most telling is that


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         This corrected amended motion makes minor changes to the row numbering and identification in the tables
found at pp. 33–36 of the principal Amended Motion to Suppress Wiretap Evidence, Docket No. 462.

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Fauntleroy, Jr., has not identified a single discrete call that he contends was monitored more than

necessary. Based on the evidence presented, the Court is unable to conclude that such

monitoring constituted a failure to minimize as required by the issuing court’s order.

           For these reasons, the Motion to Suppress Evidence Obtained by Electronic Surveillance

and Interception by Wire and Fruits of Wiretapping must be denied.



    II.    TANGIBLE AND DERIVATIVE EVIDENCE

           On June 17, 2010, police executed a search warrant on 7503 Reserve Circle, Apt. 3,

Woodlawn, Maryland. The apartment was believed to be the residence of Fauntleroy, Jr., and his

girlfriend and co-Defendant Taii Speaks. The apartment was allegedly rented in Fauntleroy, Jr.’s

mother’s name in order to evade police detection. During the search, police recovered a Ruger

P345 .45 caliber pistol with an obliterated serial number. Speaks moves to bar the introduction

of the pistol against her at trial. Docket No. 468.4

            Speaks makes two principal arguments in support of suppression. First, she challenges

the Magistrate Judge’s determination of probable cause to believe that she was engaged in

criminal activity. Second, she contends that, even if probable cause existed as to her, there is an

insufficient nexus between the address itself and any alleged criminal activity to justify a search

of the premises. A district court has a limited role in reviewing an issuing magistrate’s probable

cause determination and must only “‘ensure that the magistrate had a substantial basis for

concluding that probable cause existed.’” United States v. Bynum, 293 F.3d 192, 202 (4th Cir.

2002), (quoting Illinois v. Gates, 462 U.S. 213, 238–39 (1983)). Because it is clear that the

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         While the fruits of this search are nominally challenged by both Speaks (Docket No. 468) and Fauntleroy,
Jr., (Docket No. 463), the Government has advised that it intends to charge only Speaks with possession of the
weapon, and will not introduce evidence of the search against Fauntleroy, Jr. Therefore, Fauntleroy, Jr.’s Motion on
this point is moot and the Court will address only Speaks’s Motion.


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affidavit accompanying the application for several search warrants, including the warrant for

7503 Reserve Circle, presented to United States Magistrate Judge Beth Gesner contained ample

evidence to support a finding of probable cause, Speaks’s Motion must be denied.

         Direct evidence linking the place to be searched to the crime is not required for the

issuance of a search warrant. United States v. Williams, 548 F.3d 311 (4th Cir. 2008). In drug

cases, courts have repeatedly held that it is reasonable to infer that evidence of the drug trade will

be found where drug dealers reside. See, e.g., United States v. Whitner, 219 F.3d 289, 297–98

(3d Cir. 2000) and cases cited therein.5

         The issuing judge is entitled to rely on the affiant’s training and experience on the issue

whether those involved in certain types of illegality customarily store evidence in their homes.

Once such a permissible inference has been drawn, the affidavit need only establish probable

cause to believe that (1) the individual in question is involved in the drug trade and (2) the

individual resides at the address for which the warrant is sought. Both prongs are satisfied in this

case. First, through the wiretap on the C-line police intercepted numerous conversations in

which Fauntleroy, Jr., discussed and arranged for drug transactions. For example, an April 7,

2010 call between Fauntleroy, Jr., and Defendant Victor Thornton proceeded as follows:

                  Fauntleroy, Jr.:           Hello.
                  Thornton:                  Yo
                  Fauntleroy, Jr.:           Um, I’m somewhere else.
                  Thornton:                  Um, when you, when you go over there with
                                             cho.
                  Fauntleroy, Jr.:           Yeah.

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          As the Whitner court explained,
                  The rationale underlying the foregoing line of cases is that evidence associated
                  with drug dealing needs to be stored somewhere, and that a dealer will have the
                  opportunity to conceal it in his home. After all, a dealer logically could conclude
                  that his residence is the best, and probably the only, location to store items such
                  as records of illicit activity, phone books, address books, large amounts of cash,
                  assets purchased with proceeds of drug transactions, guns to protect drugs and
                  cash, and large quantities of drugs to be sold.
Id. at 298.

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                 Thornton:                  It’s uh, it’s under the mattress. For, for the
                                            other one I owed you for.
                 Fauntleroy, Jr.:           Yeah.
                 Thornton:                  It’s uh, it’s under the mattress. For, for the
                                            other one I owed you for.
                 Fauntleroy, Jr.:           It’s under the mattress.
                 Thornton:                  Yeah just lift it up. Like just as soon as you
                                            go in lift it up on that same side you go in
                                            the house.
                 Fauntleroy, Jr.:           Alright. What I was getting to say. You ah.
                                            You, you say ah it’s under the mattress.
                                            What for all three of them or just um.
                 Thornton:                  Nah, just for that, just for that other one I
                                            owed you for. Member?
                 Fauntleroy, Jr.:           For that, for that half a vic?6
                 Thornton:                  Yeah.
                 Fauntleroy, Jr.:           Alright. Alright. Bet. Bet.

Gov’t’s Opp Ex. 11, Aff. in Supp. of Search Warrants 62, Docket No. 501. The affiant testified

that, based on his training, knowledge, and experience, Thornton was telling Fauntleroy, Jr.,

where drugs were hidden and that the two were discussing how much money Thornton still owed

Fauntleroy, Jr. Id. at 63. The two went on to discuss what the affiant believed to be more drugs

that Thornton had hidden in the refrigerator. Id. In addition, the affidavit details numerous other

conversations of similar tone and substance. See id. at 64–73. As to Taii Speaks, calls

intercepted on the C-line between Fauntleroy, Jr., and Fauntleroy, Sr., suggest that Fauntleroy,

Jr., was sending Speaks to his father’s house to pick up drugs that had been left there (again

stored in the refrigerator). Id. at 157.

        Further evidence suggested that, despite being in the name of Fauntleroy, Jr.’s mother,

the 7503 Reserve Circle address was the residence of Fauntleroy, Jr., and Speaks. In addition to

physical surveillance of the apartment tending to establish that both Fauntleroy, Jr., and Speaks


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          At oral argument, the Government proffered that football players’ jersey numbers are often used as code to
denote the amount of drugs being discussed. “Vic,” references Philadelphia Eagles quarterback Michael Vick, and
signifies seven grams of cocaine based on Vick’s #7 jersey. This transcript aptly demonstrates the veiled, nonlinear
character of drug conversations.

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resided there, police intercepted a call in which Fauntleroy, Jr., asks his mother to call the rental

office and have them fix the air conditioning. She agrees to do so, but has to ask her son for the

address. Id. at 128–30.

        The above provides more than sufficient probable cause for the issuance of a search

warrant for 7503 Reserve Circle, Apt. 3. Accordingly, Speaks’s Motion to Suppress evidence

recovered during the search must be denied.



III.    TRAFFIC AND PEDESTRIAN STOPS

        Fauntleroy, Jr., also seeks to suppress his identification and various statements allegedly

made during several encounters with the police. Docket No. 463. The Government has advised

that, of the “stops” challenged by Fauntleroy, Jr., it plans to introduce only one at trial. The

Court will, therefore, confine its analysis to this incident.

        The following account of the stop is taken from the hearing testimony of Baltimore City

Police Detective Shane Lettau. On June 26, 2009, police stopped a car driven by Robert

Campbell for a seatbelt violation. Fauntleroy, Jr., was in the passenger seat. A canine unit was

called and arrived within ten minutes. The dog alerted on the trunk and the driver’s door. Police

then searched the vehicle and the dog alerted on the center console, though in the end no drugs

were found. Campbell and Fauntleroy, Jr., unprompted by any police questioning, allegedly

asked, “Do you think we’re dumb enough to hide something in a car and ride around here?” A

verbal warning was issued for the seatbelt violation, and the two were released. The entire stop

lasted approximately 20 minutes.




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         Fauntleroy, Jr., challenges the admissibility of the drug dog alerts and the alleged

statement on the grounds that no probable cause existed for the stop. He also contends that the

duration of the stop was unreasonable given the nature of the infraction.

         A decision to stop an automobile is reasonable where a police officer has probable cause

to believe a traffic violation has occurred, no matter how minor the traffic offense may be.

Whren v. United States, 517 U.S. 806, 810 (1996). Detective Lettau testified that, as he passed

Campbell’s car going the opposite direction, he could clearly see that Campbell was not wearing

a seatbelt. This infraction provided probable cause to stop the car.7

         In determining whether the length of a detention is reasonable, courts may consider

whether police officers “diligently pursued a means of investigation that was likely to confirm or

dispel their suspicions quickly, during which time it was necessary to detain the defendant.”

United States v. Sharpe, 470 U.S. 675, 686 (1985). Based on Det. Lettau’s testimony, the Court

finds the duration of the stop to have been reasonable. According to Det. Lettau, the canine unit

was called almost immediately. Det. Lettau called that unit based on his knowledge that

Campbell and Fauntleroy, Jr., were targets of an ongoing drug investigation. Det. Lettau,

following standard procedure for such a stop, then began to fill out the required citizen contact

sheet and radioed police dispatch to request a check on Campbell’s driver’s license and vehicle

registration, as well as a search for any outstanding warrants. Det. Lettau testified that he had


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         When police spot a traffic infraction, they are permitted to stop the car even if they are using the infraction
as an excuse to investigate other crimes. See United States v. Branch, 537 F.3d 328, 337 (4th Cir. 2008) (“if
sufficient objective evidence exists to demonstrate reasonable suspicion, a Terry stop is justified regardless of a
police officer’s subjective intent.”). The duration of the stop must be limited, however, to the time needed to
complete the traditional incidents of a traffic stop. Id. This time may vary from situation to situation, though the
same tasks are performed by the officers. For example, a license and warrant check is a traditional incident. The
time required to conduct such a check may normally be 10–15 minutes. On any given day, however, the dispatcher
may be slow or bogged down with requests, and may not respond for 25 minutes or more. This delay does not
necessarily invalidate the stop, because a reasonable time is measured not in terms of minutes but in terms of
required actions. Rather than subscribing to a bright-line rule that, for example, a stop for running a red light should
last no more than 20 minutes, courts must analyze reasonableness on a case-by-case basis.

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not yet received full responses to these inquiries when the police dog alerted on the exterior of

the car. The stop, therefore, was not unduly prolonged by the police dog’s “scan” of the

vehicle’s exterior. The alert then supplied probable cause for a search of the interior. See United

States v. Branch, 537 F.3d 328, 340 n.2 (4th Cir. 2008).

       In sum, both the initial stop and the subsequent search were reasonable and supported by

probable cause. Fauntleroy, Jr.’s Motion to Suppress any evidence gained during the incident,

including the alleged statement, must, therefore, be denied.



IV.    MOTIONS TO SEVER, TO DISMISS COUNT ONE OF THE INDICTMENT,
       AND FOR A BILL OF PARTICULARS

       Fauntleroy, Jr., has filed two additional motions that rest on a common argument. The

first seeks severance of his case and a separate trial or, in the alternative, dismissal of Count One

of the indictment against him as duplicitous. Docket No. 464. The second asks that the

Government be required to file a bill of particulars. Docket No. 323.

       Count One of the Superseding Indictment charges that from January 2009 and continuing

through June 2010, 22 Defendants conspired to distribute and possess with the intent to distribute

fifty grams or more of cocaine base, five kilograms or more of cocaine hydrochloride, and a

mixture or substance containing a detectable amount of heroin. In both motions, Fauntleroy, Jr.,

argues essentially that, while there is undeniable drug activity in the Gilmore Homes housing

project, there is no overarching conspiracy. As such, he contends, Count One combines multiple

unrelated offenses, and a joint trial of these disparate offenses would result in the prejudicial

introduction against him of evidence relevant only to others.

       “[D]uplicity is the joining in a single count of two or more distinct and separate

offenses.” United States v. Burns, 990 F.2d 1426, 1438 (4th Cir. 1993) (internal quotation

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omitted). However, “two or more acts, each of which would constitute an offense standing alone

and which therefore could be charged as separate counts of an indictment, may instead be

charged in a single count if those acts could be characterized as part of a single, continuing

scheme.” United States v. Kamalu, 298 F. App’x 251, 254 (4th Cir. 2008) (quoting United

States v. Shorter, 809 F.2d 54, 56 (D.C. Cir. 1987)).

       In essence, Fauntleroy, Jr.’s motions beg the very question to be decided at trial, that is,

whether the Defendants were engaged in a single broad drug conspiracy. Generally, whether the

Government has proved a single or multiple conspiracies is a question of fact for the jury.

United States v. Roberts, 262 F.3d 286, 294 (4th Cir. 2000). A conspiracy need not be a

hierarchical monolith with a clear organizational chart. It can be as simple as a “loosely-knit

association of members linked only by their mutual interest in sustaining the overall enterprise of

catering to the ultimate demands of a particular drug consumption market.” United States v.

Banks, 10 F.3d 1044, 1054 (4th Cir. 1993). For this reason, the court often must review the

government’s evidence in order to decide whether a reasonable jury could find the existence of

the single conspiracy charged in the indictment.

         This review is routinely done at the end of the Government’s case-in-chief, when the

court is considering the defendant’s motion for a judgment of acquittal under Fed. R. Crim. P.

29. It would be wasteful and inefficient to require the Government to preview all of its

conspiracy evidence in a lengthy pre-trial evidentiary hearing. Before trial, the court may

undertake a preliminary determination of the Government’s single conspiracy evidence, which is

often done by receiving a proffer from Government counsel. In this case the Court is satisfied,

based on such a proffer, that it is reasonable for Count One, the conspiracy count, to proceed at

trial. The Court will painstakingly review the evidence once more at the close of the



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Government’s case-in-chief, and will not hesitate to declare a misjoinder if it becomes clear that

no single conspiracy could be proved.

         At present, however, the Court sees no reason to think that Fauntleroy, Jr., or the other

Defendants will be prejudiced either by the broad language of Count One or by a joint trial. As

such, the Defendants are not entitled at this time either to severance or to a bill of particulars,8

and Count One of the indictment will not be dismissed as duplicitous.



III.     Conclusion

         For the reasons stated above, the Court will, by separate Order of even date, DENY the

following Motions:

             •    Motion to Sever Defendant, or in the alternative, Motion to Dismiss Count One of

                  the Superseding Indictment as Duplicitous by Dione Fauntleroy, Jr. Docket No.

                  464.

             •    Motion for Bill of Particulars by Dione Fauntleroy, Jr. Docket No. 323.

             •    Amended Motion to Suppress Tangible Evidence and Derivative Evidence by

                  Dione Fauntleroy, Jr. Docket No. 463.

             •    Motion to Suppress Evidence Seized by Taii Speaks. Docket No. 468.

             •    Amended Motion to Suppress Evidence Obtained by Electronic Surveillance and

                  Interception by Wire and Fruits of Wiretapping by Dione Fauntleroy, Jr. Docket

                  No. 462.




8
         A Defendant is not entitled to a bill of particulars as of right. Wong Tai v. United States, 273
U.S. 77, 82 (1927). There is even less need for a bill of particulars in a case such as this, in which the Government
has provided extensive pretrial discovery putting the Defendants on notice of the specific nature of the charges
against them.

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Dated this 25th day of July, 2011.                       /s/
                                                 Benson Everett Legg
                                                 United States District Judge




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